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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-20534-CIV-MARTINEZ-BECERRA

 CARLOS PEREZ JR.,

                  Plaintiff,
 v.

 TOWN OF MIAMI LAKES,

             Defendant.
 _____________________________________/

                          DEFENDANT’S REMOVAL STATUS REPORT

         Defendant, Town of Miami Lakes (the “Town”), by and through undersigned counsel, and

 pursuant to the Court’s Order (ECF No. 5), hereby files its Removal Status Report, and states as

 follows:

      A. A plain statement of the nature of the claim and any counterclaim, cross-claim, or
         third-party claim, made in state or federal court including the amount of damages
         claimed and any other relief sought.

         Plaintiff, Carlos Perez Jr. (“Plaintiff”), initiated this action by filing a one-count Complaint

 against the Town of Miami Lakes (“Town”) in the Circuit Court of the Eleventh Judicial Circuit in

 and for Miami-Dade County, Florida. The Complaint asserts a First Amendment retaliation claim

 against the Town. The Complaint seeks unspecified “damages” and attorneys’ fees and costs. No

 counterclaims, cross-claims, or third-party claims have been filed as of the date of this Removal

 Status Report.
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    B. A plain statement of the grounds for removal and a listing of all parties to the action,
       including parties to any third-party claim.

        This case is removable because the Court has federal question jurisdiction over Plaintiff’s

 First Amendment retaliation claim pursuant to 28 U.S.C. §§ 1331 and 1441(a). Plaintiff, Carlos

 Perez Jr., and defendant, the Town of Miami Lakes, are the only parties to this action.

    C. A list of all pending motions.

        There are no pending motions as of the date of this Removal Status Report.

    D. A brief statement by each Defendant explaining whether or not each has joined the
       notice of removal.

        The Town is the removing Defendant. There are no other Defendants to this action.

    E. State whether the Defendant has removed the action within 30 days after the receipt
       by the Defendant of a copy of the initial pleading setting forth the claim for relief upon
       which such action or proceeding is based.

        The Town was served with the Complaint on January 19, 2021, and the Town filed its Notice

 of Removal on February 8, 2021. Thus, the Town removed this action within thirty (30) days of

 the date of service.

        A copy of the Complaint initially filed in the Circuit Court of the Eleventh Judicial Circuit

 in and for Miami-Dade County, Florida is located at ECF No. 1-1, pp. 6-15. A copy of the Town’s

 Notice of Removal is located at ECF No. 1.




                                                     Respectfully submitted,

                                                     WEISS SEROTA HELFMAN
                                                     COLE & BIERMAN, P.L.
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                        W E I S S S E R O T A H E L F M A N C O L E & B I E R M A N , P. L .
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 15, 2021, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system. I further certify that the foregoing document and

 the notice of electronic filing has been provided to counsel for Plaintiff via electronic mail: Paul

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                                                           /s/ Charles M. Garabedian



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